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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS



Michael Haynes & Associates, LLC,


v.                                                      CA No. 1:20-cv-10389
Security Credit Services, LLC d/b/a EquiPro
Investments and EquiPro Holdings, LLC




                                        COMPLAINT
       Plaintiff, Michael Haynes & Associates, LLC (“MHA”) brings this complaint against

Defendants Security Credit Services, LLC d/b/a EquiPro Investments and EquiPro

Holdings, LLC and alleges as follows:

                                          PARTIES
       1.     Michael Haynes & Associates, LLC (“MHA”) is a Massachusetts limited liability

company with a principal place of business at 21 Brook Street, Suite 9, Seekonk, MA 02771.

       2.     Security Credit Services, LLC (“SCS”) is a Mississippi limited liability company

with a principal place of business at 306 Enterprise Drive, Oxford, MS 38655.

       3.     EquiPro Investments is a fictious name used by SCS.

       4.     EquiPro Holdings, LLC (“EquiPro Holdings”) is a Mississippi limited liability

company with a principal place of business at 306 Enterprise Drive, Oxford, MS 38655.

       5.     SCS holds itself out to the public as being owned and operated by EquiPro

Holdings. See SCS webpage attached as Exhibit 1.
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                                JURISDICTION AND VENUE
       6.      This Court has jurisdiction over the subject matter of these proceedings pursuant

to 28 U.S.C. § 1332, as this is an action between corporate citizens of different states, with an

amount in controversy in excess of $75,000, exclusive of attorneys’ fees, interests and costs.

       7.      Venue is proper in this forum under 28 U.S.C. § 1391 because a substantial part

of the events or omissions giving rise to the claim occurred in Massachusetts.

       8.      Defendants have sufficient contacts with this jurisdiction such that personal

jurisdiction exists over the Defendants.

       9.      Defendants’ representatives, and thus Defendants, were physically present in

Massachusetts on July 19, 2018 and November 4, 2018 and met with Mr. Halzel regarding the

transactions that form the subject matter of this Complaint.

                                             FACTS

       10.     SCS holds itself out as “a nationally known and trusted investment firm which

purchases both performing and non-performing accounts receivable.”

       11.     Kaye Dreifuerst is president of SCS (“Kaye”).

       12.     T.K. Kimmel is an executive vice president of SCS (“T.K.”).

       13.     Non-party Time Payment Corp. is in the business of commercial financing

(including equipment financing) with a principal business address of 1600 District Avenue, Suite

200, Burlington, MA 01803 (“Time Payment”).

       14.     SCS and Time Payment had a business relationship under which Time Payment

sold certain accounts receivable to SCS.

       15.     MHA is in the receivables management industry and regularly buys and sells

portfolios of accounts receivable.

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       16.     Michael Halzel is president of MHA.

       17.     MHA’s primary contact at SCS was T.K.

       18.     MHA and SCS had a business relationship lasting over 7 years during which the

parties entered into numerous transactions.

       19.     As an executive vice president, T.K. had authority to speak on behalf of and bind

SCS.

       20.     MHA believed that, T.K. had authority to speak on behalf SCS and bind SCS

because T.K. was an executive vice president of SCS at all times relevant hereto.

PORTFOLIO 1

       21.     In April 2018, SCS and MHA preliminarily discussed SCS selling to MHA a

portfolio of accounts receivable involving loans from Time Payment in the approximate principal

amount of $25,008,728.35 (“Portfolio 1”).

       22.     On April 3, 2018, SCS represented to MHA that the average balance of the

accounts in Portfolio 1 was $7,000. See Email dated April 3, 2018 attached as Exhibit 2.

       23.     On or around April 4, 2018, SCS represented to MHA that each of the underlying

accounts receivable in Portfolio 1 were commercial leases with personal guaranties. See Email

dated April 4, 2018 attached as Exhibit 3.

       24.     On April 4, 2018, SCS represented to MHA that the accounts receivable in

Portfolio 1 came with applications and statements. See Email dated April 4, 2018 attached as

Exhibit 4.

       25.     In a phone conversation in or around mid-May, 2018, T.K. further represented to

MHA that each account receivable in Portfolio 1 came with an application, payment history,

driver’s license, and invoice receipt sheet.

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       26.     On May 7, 2018, MHA expressed interest in Portfolio 1 to SCS and expressed a

willingness to buy a small “tester” component of Portfolio 1 in the amount of $20,000. See Email

dated May 7, 2018 attached as Exhibit 5.

       27.     On May 7, 2018, T.K. told MHA to “find more money” and that T.K. was “not

looking for someone that wants to ‘test it’ I am looking for a partner.” See Exhibit 5.

       28.     On or around May 16, 2018, SCS represented to MHA that Time Payment

originated all the loans for the accounts receivable in Portfolio 1. See Email dated May 16, 2018

attached as Exhibit 6.

       29.     MHA discovered after receiving Portfolio 1 that Time Payment did not originate

all the loans in the accounts receivable in Portfolio 1.

       30.     On May 16, 2018, MHA again asked about the underlying documentation for the

accounts in Portfolio 1.

       31.     SCS represented to MHA that each of the accounts would have “Copy of Driver’s

License, application etc. underlying agreement, pay histories, invoice receipt sheet.” See Exhibit

6.

       32.     On May 21, 2018, MHA requested media samples from SCS. See Email dated

May 21, 2018 attached as Exhibit 7.

       33.     On May 21, 2018, SCS sent media samples to MHA, which included a copy of

driver’s license, application etc. underlying agreement, pay histories, invoice receipt sheet. See

Email dated May 21, 2018 at 9:20am attached as Exhibit 8.

       34.     Despite representing to MHA that it would receive “Copy of Driver’s License,

application etc. underlying agreement, pay histories, invoice receipt sheet” SCS provided to

MHA only a copy of the application and an incomprehensible excel spread sheet.



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       35.     The media samples provided to MHA were not representative of the accounts

receivable in Portfolio 1.

       36.     Prior to sending a draft contract for Portfolio 1, SCS represented to MHA that it

would remove bankrupt or deceased accounts from Portfolio 1.

       37.     On June 6, 2018, SCS provided a contract to MHA purportedly memorializing the

sale of Portfolio 1 to MHA. See Email dated June 6, 2018 attached as Exhibit 9.

       38.     In a phone conversation on or around June 6, 2018, T.K. represented to MHA that

there would be no provision in the contract that prohibited MHA from reselling any of the

accounts receivable in Portfolio 1 (also known as a “re-sale restriction”).

       39.     Despite advising MHA differently, SCS included a re-sale restriction in the

contract for Portfolio 1. See Purchase Agreement attached as Exhibit 10, Sec. 5.6.

       40.     MHA questioned the re-sale restriction by email on June 6, 2018, and T.K.

responded saying “your [sic] right good catch let me change it real quick” and “its [sic] 12

months with approval.” See Email dated June 6, 2018 at 12:45pm attached as Exhibit 11.

       41.     Despite T.K. representing to MHA that there was no re-sale restriction, then

representing it was “12 months with approval,” SCS put different language into the contract.

       42.     Prior to presenting a draft contract to MHA, SCS never informed MHA that SCS

intended to sell Portfolio 1 to MHA with a clause prohibiting MHA or its assignees from

threatening or pursuing litigation to collect the accounts receivable (also known as the

“litigation-hold provision”).

       43.     MHA was surprised by the litigation-hold provision when SCS first presented the

draft contract because SCS had not mentioned the litigation-hold provision until it asked MHA to

sign the contract. See Exhibit 10, Sec. 5.8.



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       44.     On June 6, 2018, MHA questioned the litigation-hold provision by email to SCS.

       45.     In a phone conversation on or around June 6, 2018, T.K. told MHA that the

litigation-hold provision would be removed within 90 days of executing the contract.

       46.     T.K.’s representation that the litigation-hold provision would be removed was

made near the time of execution and induced MHA to sign a purchase and sale agreement for

Portfolio 1, a copy of which is attached as Exhibit 10 (the “First Agreement”).

       47.     The purchase price for Portfolio 1 was $300,104.74. See Exhibit 10.

       48.     After the parties executed the First Agreement, MHA repeatedly followed up with

SCS regarding removal or waiver of the litigation-hold provision (as promised).

       49.     SCS repeatedly represented to MHA that it would remove or waive the litigation-

hold provision.

       50.     After the parties executed the First Agreement, SCS made a clear promise to

MHA that SCS would remove or waive the litigation-hold provision.

       51.     In a text exchange on June 29, 2018, MHA asked T.K. “Are you worried that

you’re not going to be able to get the no litigation claws [sic] removed?”

       52.     T.K. responded “Not worried.”

       53.     A portion of the text exchange is attached as Exhibit 12 (with potentially

offensive language redacted).

FORWARD-FLOW CONTRACTS/SECOND PORTFOLIO

       54.     Also in June 2018, and contemporaneous with the dialogues about Portfolio 1,

SCS and MHA discussed the sale of a second portfolio of accounts receivable involving loans

from Time Payment under which SCS would transfer smaller trenches of accounts receivable to

MHA on a monthly basis (also known as a forward flow contract), with such trenches including

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accounts receivable in the approximate principal amount of $1,800,000 to $5,000,000 per month

(“Portfolio 2”).

       55.     On or about July 9, 2018, the parties executed a purchase and sale agreement for

Portfolio 2, a copy of which is attached as Exhibit 13 (the “Second Agreement,” and together

with the First Agreement, collectively referred to as the “Agreements”).

       56.     After the execution of the Second Agreement, SCS promised MHA that the

litigation-hold provisions would be removed.

       57.     On July 20, 2018, Kaye emailed MHA regarding the removal of the litigation-

hold provisions stating that “I’ll send you an email on Monday in reference to the legal criteria

that I’ll get approved with the Client. With this change, I think this product will work really well

for both your group and mine…” See Email dated July 20, 2018 attached as Exhibit 14.

       58.     On numerous occasions, SCS reassured MHA that the litigation-hold provisions

would be removed.

       59.     On October 12, 2018, in response to MHA again asking when the litigation-hold

provisions would be removed, T.K. said “I know it’s not the immediate green light we/you are

looking for…” See Email dated October 12, 2018 attached as Exhibit 15.

       60.     T.K.’s statement acknowledges that SCS promised MHA that the litigation-hold

provisions would be removed. See Exhibit 15.

       61.     During conversations with MHA in November 2018, T.K, promised MHA that if

the litigation-hold provision was not removed, T.K. would find a buyer for both Portfolios at or

around the same purchase price paid by MHA.




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                            COUNT 1 – FRAUD IN THE INDUCEMENT

        62.     MHA incorporates and realleges the paragraphs above as if set forth fully herein.

        63.     At or near the execution of the Agreements, SCS made false representations of

material fact, including but not limited to, that:

                a.      SCS would provide to MHA certain documentation underlying the

                        accounts receivable, including applications, payment histories, copy of

                        driver’s license, and invoice receipt sheets;

                b.      The media samples provided to MHA on May 21, 2018 were a

                        representative sample of the information available for the accounts;

                c.      Time Payment was the originator on all the loans for the accounts

                        receivable;

                d.      Portfolio 1 and Portfolio 2 did not include bankrupt or deceased accounts;

                e.      There would be no re-sale restriction;

                f.      The litigation-hold provisions would be removed or waived within 90

                        days; and

                g.      All the accounts were valid, binding and enforceable obligations.

        64.     At or near the execution of the Agreements, SCS omitted material facts, including

but not limited to, that:

                a.      SCS could not or would not remove the litigation-hold provision;

                b.      Time Payment was not the originator on the loans underlying the accounts

                        receivable;

                c.      The accounts receivable documentation did not include payment histories,

                        copy of driver’s license, and invoice receipt sheets;



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                 d.     Both portfolios included bankrupt and deceased accounts;

                 e.     Both portfolios included accounts that had issues with fraudulent

                        guarantor signatures, unposted payments, faulty repossessions; and

                 f.     Accounts in both portfolios were already closed for fraud before SCS sold

                        them to MHA.

        65.      SCS knew the falsity of its representations and omissions at the time those

statements and omissions were made.

        66.      SCS’s misrepresentations and omissions of material facts were made for the

purpose of inducing MHA to enter into the Agreements.

        67.      SCS’s misrepresentations and omissions impair the value of the accounts

receivable transferred under the Agreements.

        68.      SCS knew and intended that the MHA would rely upon SCS’s misrepresentations

and omissions.

        69.      MHA reasonably and justifiably relied to its detriment on SCS’s representations

and omissions, and thus was induced to enter into the Agreements.

        70.      As a direct and proximate cause of SCS’s misrepresentations and omissions

material to the subject matter of the Agreements, MHA has suffered damages, including but not

limited to, loss of the benefit of the bargain; loss of resale value, lost profits, and all other

damages in an amount to be proven at trial.

                      COUNT 2 – FRAUDULENT MISREPRESENTATION

        71.      MHA incorporates and realleges the paragraphs above as if set forth fully herein.

        72.      At or near the execution of the Agreements, SCS made false representations of

material fact, including but not limited to, that:


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              a. SCS would provide to MHA certain documentation underlying the accounts

                 receivable, including applications, payment histories, copy of driver’s license, and

                 invoice receipt sheets;

              b. The media samples provided to MHA on May 21, 2018 were a representative

                 sample of the information available for the accounts;

              c. Time Payment was the originator on all the loans for the accounts receivable;

              d. Portfolio 1 and Portfolio 2 did not include bankrupt or deceased accounts;

              e. There would be no re-sale restriction;

              f. The litigation-hold provisions would be removed or waived within 90 days; and

              g. All the accounts were valid, binding and enforceable obligations.

        73.      At or near the execution of the Agreements, SCS omitted material facts, including

but not limited to, that:

              a. SCS could not or would not remove the litigation-hold provision;

              b. Time Payment was not the originator on the loans underlying the accounts

                 receivable;

              c. The accounts receivable documentation did not include payment histories, copy of

                 driver’s license, and invoice receipt sheets;

              d. Both portfolios included bankrupt and deceased accounts;

              a. Both portfolios included accounts that had issues with fraudulent guarantor

                 signatures, unposted payments, faulty repossessions; and

              b. Accounts in both portfolios were already closed for fraud before SCS sold them to

                 MHA.




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        74.      SCS knew the falsity of its representations and omissions at the time those

statements and omissions were made.

        75.      SCS’s misrepresentations and omissions of material facts were made for the

purpose of inducing MHA to enter into the Agreements.

        76.      SCS’s misrepresentations and omissions impair the value of the accounts

receivable transferred under the Agreements.

        77.      SCS knew and intended that the MHA would rely upon SCS’s misrepresentations

and omissions.

        78.      MHA reasonably and justifiably relied to its detriment on SCS’s representations

and omissions, and thus was induced to enter into the Agreements.

        79.      As a direct and proximate cause of SCS’s misrepresentations and omissions

material to the subject matter of the Agreements, MHA has suffered damages, including but not

limited to, loss of the benefit of the bargain; loss of resale value, lost profits, and all other

damages in an amount to be proven at trial.

                      COUNT 3 – NEGLIGENT MISREPRESENTATION
        80.      MHA incorporates and realleges the paragraphs above as if set forth fully herein.

        81.      At or near the execution of the Agreements, SCS made false representations of

material fact, including but not limited to, that:

              a. SCS would provide to MHA certain documentation underlying the accounts

                 receivable, including applications, payment histories, copy of driver’s license, and

                 invoice receipt sheets;

              b. The media samples provided to MHA on May 21, 2018 were a representative

                 sample of the information available for the accounts;

              c. Time Payment was the originator on all the loans for the accounts receivable;

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              d. Portfolio 1 and Portfolio 2 did not include bankrupt or deceased accounts;

              e. There would be no re-sale restriction;

              f. The litigation-hold provisions would be removed or waived within 90 days; and

              g. All the accounts were valid, binding and enforceable obligations.

        82.      At or near the execution of the Agreements, SCS omitted material facts, including

but not limited to, that:

              a. SCS could not or would not remove the litigation-hold provision;

              b. Time Payment was not the originator on the loans underlying the accounts

                 receivable;

              c. The accounts receivable documentation did not include payment histories, copy of

                 driver’s license, and invoice receipt sheets;

              d. Both portfolios included bankrupt and deceased accounts;

              a. Both portfolios included accounts that had issues with fraudulent guarantor

                 signatures, unposted payments, faulty repossessions; and

              b. Accounts in both portfolios were already closed for fraud before SCS sold them to

                 MHA.

        83.      SCS made the representations and omissions without exercising reasonable care

in communicating the information to MHA.

        84.      MHA reasonably and justifiably relied to its detriment on SCS’s representations

and omissions, and thus was induced to enter into the Agreements.

        85.      SCS’s misrepresentations and omissions impair the value of the accounts

receivable transferred under the Agreements.




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       86.     As a direct and proximate cause of SCS’s misrepresentations and omissions

material to the subject matter of the Agreements, MHA has suffered damages, including but not

limited to, loss of the benefit of the bargain; loss of resale value, lost profits, and all other

damages in an amount to be proven at trial.

                           COUNT 4 - PROMISSORY ESTOPPEL
       87.     MHA incorporates and realleges the paragraphs above as if set forth fully herein.

       88.     After executing the First Agreement, SCS made a clear and definite promise to

MHA that SCS would remove or waive the litigation-hold provision within 90 days of executing

the First Agreement.

       89.     It was foreseeable that SCS’s promise to remove the litigation-hold provision

within 90 days would induce MHA to enter into the Second Agreement.

       90.     MHA reasonably relied on SCS’s promises when it entered into the Second

Agreement.

       91.     After executing the Second Agreement, SCS made a clear and definite promise to

MHA that SCS would remove or waive the litigation-hold provision.

       92.     It was foreseeable that SCS’s promise to remove the litigation-hold provision

within would induce MHA to pay SCS for multiple trenches of accounts receivable under the

Second Agreement.

       93.     MHA reasonably relied on SCS’s promises when it paid SCS approximately

$100,000 in the aggregate for multiple trenches of accounts receivable after the Second

Agreement.

       94.     As a direct and proximate result of SCS’s promises, MHA has suffered damages,

including but not limited to, loss of the benefit of the bargain; loss of resale value, lost profits,

and all other damages in an amount to be proven at trial.

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              COUNT 5 - VIOLATION OF MASS. GEN. LAWS CH. 93A § 11

       95.     MHA incorporates and realleges the paragraphs above as if set forth fully herein.

       96.     SCS is a Receivables Management Association (“RMAI”) member.

       97.     According to RMAI’s website, RMAI is “the nonprofit trade association that

represents more than 550 companies that support the purchase, sale, and collection of performing

and nonperforming receivables on the secondary market” and “RMAI’s Receivables

Management Certification Program and its Code of Ethics set the global standard within the

receivables industry due to its rigorous uniform industry standards of best practice which focus

on the protection of the consumer.”

       98.     RMAI maintains a code of ethics to govern the conduct of its members.

       99.     According to RMAI’s website, “RMAI’s Code of Ethics is a written set of norms

governing the professional conduct and behavior expected of its Members and their

employees/agents. Failure to comply with the Code is a basis for invoking a disciplinary

process.”

       100.    According to SCS’s website, “Kaye was voted onto the Board of Directors for

RMAi in 2008, an organization that plays an important role in providing leadership and guidance

for the debt buying industry. She served as President for the RMAi and is still very involved with

legislation meetings which help guide the industry.”

       101.    Brett Soldevila, who is SCS’s chief compliance officer, is on the board of

directors of RMAI.

       102.    At all relevant times hereto, MHA and SCS were engaged in trade or commerce

as defined under Mass. Gen. Laws ch. 93A.




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          103.   The above-described actions of SCS, including but not limited to SCS’s

misrepresentations and omissions, constitute “unfair methods of competition and unfair or

deceptive acts or practices in the conduct of any trade or commerce” within the meaning of

Mass. Gen. Laws ch. 93A, §§ 2 and 11, and are therefore unlawful.

          104.   SCS, whose personnel are former and present RMAI leadership, agreed to

conduct its business in accordance with RMAI’s code of ethics.

          105.   It is unfair and deceptive for SCS to agree to conduct its business in accordance

with the RMAI code of ethics and subsequently violate the RMAI code of ethics as described

herein.

          106.   It is unfair and deceptive for SCS to induce MHA to enter into the Agreements by

making false statements and promises SCS never intended to keep.

          107.   The above-described actions of SCS occurred primarily and substantially within

the Commonwealth of Massachusetts where MHA is headquartered.

          108.   SCS’s violations of Mass. Gen. Laws ch. 93A were willful and/or knowing

violations of said statute and SCS is therefore liable to MHA in an amount equal to not less than

twice and up to three times SCS’s damages by reason of its violations of Mass. Gen. Laws ch.

93A.

          109.   MHA is also entitled to an award of reasonable attorneys’ fees and costs incurred

in this action as a result of SCS’s violations of Mass. Gen. Laws ch. 93A, §§ 2 and 11.

          110.   As a direct and proximate result of SCS’s conduct, MHA has suffered damages,

including but not limited to, loss of the benefit of the bargain; loss of resale value, lost profits,

and all other damages in an amount to be proven at trial.




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                                     EQUIPRO HOLDINGS

       111.      SCS holds out to the public that it is owned and operated by EquiPro Holdings.

See Exhibit 1.

       112.      As owner and operator of SCS, EquiPro Holdings is liable for SCS’s conduct.

       113.      By operating SCS, EquiPro Holdings is responsible for SCS’s conduct.

       114.      As owner and operator of SCS, EquiPro Holdings is a principal of SCS.

       115.      As principal, EquiPro Holdings is liable for SCS’s conduct as agent.

     PLAINTIFF CLAIMS A TRIAL BY JURY AS TO ALL CLAIMS SO TRIABLE
       WHEREFORE, Plaintiff Michael Haynes & Associates, LLC respectfully requests that

the Court:


   1. Enter judgment for Plaintiff on all counts of this Complaint;

   2. Award monetary damages to Plaintiff in an amount to be proven at trial;

   3. Award attorney’s fees, costs and expenses to Plaintiff;

   4. Award Plaintiff such other and further relief as this Court deems just and proper.




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                            MICHAEL HAYNES & ASSOCIATES, LLC,

                            By its attorneys,

                            /s/ Andre S. Digou
                            Andre S. Digou (#683834)
                            Robert D. Fine (#165360)
                            Chace Ruttenberg & Freedman, LLP
                            One Park Row, Suite 300
                            Providence, RI 02903
                            Tel.: 401-453-6400
                            Email: adigou@crfllp.com
                                    rfine@crfllp.com
                            Dated: February 26, 2020




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                          EXHIBIT 1
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Michael Halzel

From:                   T.K. Kimmel [tkkimmel@securitycreditservicesllc.com]
Sent:                   Wednesday, May 16, 2018 3:48 PM
To:                     Michael Halzel
Subject:                RE: Time payment questions
Follow Up Flag:         Follow up
Flag Status:            Flagged



-----Original Message-----
From: Michael Halzel <michaelhalzel@contactmha.com>
Sent: Wednesday, May 16, 2018 8:40 AM
To: T.K. Kimmel <tkkimmel@securitycreditservicesllc.com>
Subject: Time payment questions

Hey T.K.,

I am just trying to seal the deal here and I need a little due diligence prior.

My partner is asking a few questions about the file and I am passing them
forward:


1) If there is no guarantor or guarantor SSN is it safe to assume there isn't a personal
guarantee on account? Yes

2) Are there co debtors on any of these accounts and if so would they be provided in the
final file? Yes

3) Has Time Payment ever had a legal strategy and if so could there be accounts with
underlying judgments? no

4) I assume Time Payment files a UCC on these accounts. Can u confirm and also ask if they
have UCC's saved electronically. On some

5) Can we get statements on accounts where ending balance matches purchased amount? Deal
killer if I can't get pay histories

6) I have a sample contract. Has the same contract been used for all the accounts? If there
are older contracts on some of the accounts can I have samples of those contracts. Yes

7) What other media can w� expect? Copy of Driver License, application etc. underlying
agreement, pay histories, invoice receipt sheet

8) What was post charge-off strategy in past?          Were settlement letters sent for internal
collections? In house only

9) It looks like there will be a lot of out of stat accounts. Would you be willing to take
those out of final file. We can identify them. (I would be willing to work the 005 ones
myself if it's an issue). no

10) On any re-pa's do they have all the documentation relating to repossession?          I will find
out
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11) Did they ever 1099 any accounts?   no

12) Did Time Payment originate all these accounts or were some purchased from other sources?
If some were purchased thru other sources can they be identified in final file and can we see
original contract samples on a few of them. All them

13) What is expected volume going forward on a quarterly basis? 5-lSMM a month




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Michael Halzel

From:                   T.K. Kimmel [tkkimmel@securitycreditservicesllc.com]
Sent:                   Wednesday, June 06, 2018 12:45 PM
To:                     Michael Halzel
Subject:                RE: SCS ~ MHA TP SOMM 5.6.2018
Follow Up Flag:         Follow up
Flag Status:            Flagged

Your right good catch let me change it real quick

Its 12 months with approval

-----Original Message-----
From: Michael Halzel <michaelhalzel@contactmha.com>
Sent: Wednesday, June 06, 2018 12:03 PM
To: T.K. Kimmel <tkkimmel@securitycreditservicesllc.com>
Subject: RE: SCS ~ MHA TP 50MM 5.6.2018

Hey,

There is a resale restriction?

I thought there was no resale restriction?

-----Original Message-----
From: T.K. Kimmel [mailto:tkkimmel@securitycreditservicesllc.com]
Sent: Wednesday, June 06, 2018 12:16 PM
To: 'Michael Halzel'
Subject: SCS ~ MHA TP 50MM 5.6.2018

Here you go

Pucker up!!

TKK



This email has been checked for viruses by AVG.
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                            PURCHASE AND SALES AGREEMENT

        This Agreement is made this the 29th day of June 2018, by and between Security
Credit Services, LLC (“Seller”), with its principal place of business located at 2653 W
Oxford Loop, Oxford, MS 38655 and Michael Haynes & Associates, LLC (“Purchaser”),
with its principal place of business located at 21 Brook St.; Suite 9 Seekonk, MA 02771

WITNESSETH:


               WHEREAS, Seller is the owner of certain Accounts (hereinafter referred to
as the “Accounts”) which include an approximate aggregate principle balance range of
$1,800,000.00 to $5,000,000.00 per month should inventory be available at the per diem
rate of 1.20%.


      WHEREAS, Seller is desirous of selling, and Purchaser is willing to purchase, the
Accounts upon the terms and conditions set forth herein (Exhibit D) for a term of two
months to begin July 16, 2018 and continue every 30 days, concluding August 31, 2018.


       NOW, THEREFORE, in consideration of the mutual covenants and conditions
hereinafter set forth, the parties hereto agree as follows:

1         PURCHASE AND SALE OF THE ACCOUNTS

               1.1          Seller hereby sells, conveys and assigns to Purchaser all of its right title
                            and interest in and to the Accounts in exchange for Purchaser’s payment
                            to Seller, via bank wire transfer, cashier’s check, or money order, of the
                            Purchase Price for the Accounts, which is identified in the Closing
                            Statement attached hereto and incorporated herein by reference as
                            Exhibit “B” (the “Purchase Price”).

               1.2          Seller shall deliver, upon receipt from Purchaser of a bank wire transfer,
                            cashier’s check, or money order in the amount of the Purchase Price, the
                            actual Account file(s) containing a detailed listing of the Accounts being
                            sold to Purchaser by electronic mail. If requested by Purchaser, the
                            actual file(s) of the Accounts will be forwarded by floppy disk or CD
                            ROM to Purchaser within two business days of the Closing Date, as
                            defined herein.


2         PURCHASE PRICE

               2.1          Upon execution of this Agreement, Purchaser shall remit to Seller, via
                            bank wire transfer, cashier’s check or money order the Purchase Price.

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                            The date of Seller’s receipt of the Purchase Price shall be referred to as
                            the “Closing Date.”

3         RIGHTS TO PROCEEDS

               3.1          On or after the Closing Date, Purchaser shall be entitled to the proceeds
                            of the Accounts. Should Seller come into possession of any instrument
                            or other property from an Account debtor in payment of an Account on
                            or after the Closing Date, pursuant to this Agreement, Seller shall
                            monthly endorse said instrument in favor of Purchaser or transfer to said
                            other property to Purchaser and shall deliver said instrument or other
                            property to Purchaser within a reasonable period of time following
                            Seller’s receipt of same.

               3.2          Seller hereby authorizes Purchaser to endorse, in Seller’s name, and to
                            negotiate or deposit to any bank account maintained by Purchaser, any
                            instrument payable or endorsed to Seller and received by Purchaser
                            from or on behalf of an Account debtor on or after the Closing Date, in
                            payment of an Account.

4         REPRESENTATIONS OF SELLER

               4.1          Seller is a Mississippi Limited Liability Company duly organized and
                            validly existing under the laws of said state.

               4.2          Seller warrants that it is the owner of the Accounts.

               4.3          Accounts are valid, binding, and enforceable obligations. Seller has
                            good and marketable title to the Accounts, and has the right to sell,
                            convey, and assign the Accounts.

               4.4          Seller has taken all action necessary to authorize its execution and
                            delivery of this Agreement and the performance of the transaction
                            contemplated hereby.

               4.5          Any Accounts which have been discovered to be bankrupt or have an
                            active bankruptcy filed or are deceased prior to the Closing Date shall
                            not be included as part of the Accounts contemplated by this Agreement.
                            If any Accounts are determined to be bankrupt or deceased, Purchaser’s
                            sole remedy shall be limited to Seller’s repurchase of such Accounts for
                            the purchase price thereof less any recoveries on such accounts that
                            Purchaser may have received, or for which a credit was given to
                            Purchaser. The Purchaser shall have a period of forty five (45) days
                            from the Closing Date to return bankrupt and deceased Accounts to
                            Seller for repurchase. Seller shall not be required to repurchase any



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                            Accounts returned by Purchaser to Seller after forty five (45) days from
                            the Closing Date.

               4.6          Any money received by Seller on any Accounts after the Closing Date
                            shall be transferred by Seller to Buyer by statement following the end
                            of the month. In order to assist Buyer in determining the Accounts for
                            which the foregoing payments were made, Seller shall also monthly
                            provide Buyer, along with the referenced payments, a list setting forth:
                            (i) the names of the Account debtor who tendered payments; (ii) the
                            Account debtors’ account numbers; and (iii) the amount of the Account
                            debtors’ payments.

               4.7          To the extent available, and upon written request of Purchaser, Seller
                            will provide Purchaser the type of Account debtor information outlined
                            in Exhibit “B” hereto on each purchased Account.

               4.8          Seller makes no warranties, either oral or in writing, expressed or
                            implied, concerning the Accounts other than as specifically set forth in
                            this Agreement. Seller makes no representations as to the percentage of
                            collections or dollar amount, if any, to be collected on the Accounts.
                            Seller may provide Buyer basic demographic data, including name,
                            address, telephone number(s), social security number, date of birth,
                            property ownership and other information. To the best of sellers
                            knowledge, the Account data is materially accurate and complete but in
                            no way represents that it may be the basis for successful collection
                            efforts, but merely represents information in Seller’s possession.

               4.9          Seller agrees to refund any Account that is found by Purchaser,
                            WITHIN 45 days of the Closing Date, not owed by the Account debtor
                            due to fraud, as evidenced by an affidavit from the Account debtor or
                            other evidence reasonably acceptable to Seller evidencing such
                            fraudulent activity. Any account that was the subject of a consumer
                            dispute while owned by the seller has been responded to or validated.
                            Any Accounts that are not owed due to proper settlements verified in
                            writing by the Originator (as defined below), Seller or agent thereof, or
                            a copy of the canceled, final check (front and back) evidencing payment
                            of the Account in full, will be refunded to Purchaser, when submitted in
                            writing to Seller, for a period of time not to exceed forty five (45) days
                            from the Closing Date.

5         REPRSENTATIONS OF THE PURCHASER

               5.1          All recovery efforts instituted in connection with the Accounts shall be
                            conducted in a good, lawful and expeditious manner. The collection
                            activities performed by Purchaser shall be in compliance with the
                            Federal Trade Commission standards on debt collection and other

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                            applicable state, federal and common law doctrines or laws reasonably
                            ascertained as of the date hereof including but not limited to the Fair
                            Debt Collections Practices Act, Fair Credit Reporting Act, and
                            Telephone Consumer Protection Act. In this regard, Purchaser and
                            Seller each guarantee and agree to defend each other with respect to,
                            and indemnify each other and hold each other, including but not limited
                            to its employees, agents, officers, and assigns harmless from all claims,
                            causes of action, damages, fines, penalties or costs of whatsoever nature,
                            including reasonable attorney’s fees arising from any action instituted
                            against the other for a violation or claimed violation of law. Purchaser
                            will strictly adhere to all requirements of the Fair Debt Collection
                            Practices Act, Fair Credit Reporting Act, Telephone Consumer
                            Protection Act, and any other applicable collection, credit or credit
                            reporting laws. For any accounts where the statute of limitations has run,
                            purchaser will not falsely represent that a lawsuit will be filed if the
                            obligor does not pay. Purchaser acknowledges and understands that
                            Seller’s inducement to sell the Accounts is based upon such
                            representations.

          5.1(a)            Licensing: Purchaser affirms that it is has obtained any license(s),
                            bond(s), registration(s) or permit(s) required by applicable laws and
                            regulations to engage in purchase, management, and collection of
                            Accounts, and Purchaser shall keep all such license(s), bond(s),
                            registration(s) or permit(s) in full force and effect throughout the term of
                            the Agreement. Upon demand of SCS, Purchaser shall provide SCS with
                            copies of all current license(s), bond(s), registration(s) or permit(s)
                            required by applicable laws and regulations to engage in purchase,
                            management, and collection of Accounts, and to conduct business in
                            every state in which Purchaser operates.

               5.2          Purchaser is a Certified Professional Receivables Company through
                            RMA International or meets or exceeds the standards of a Certified
                            Professional Receivables Company and will provide sufficient proof to
                            seller if such request is made. RMA Standards available upon request
                            or at www.rmassociation.org.

    5.2(a)                  Confidentiality of Consumer Information: Purchaser affirms that
                            appropriate data security controls and policies are in place to protect and
                            secure confidential consumer information and that confidential
                            consumer information shall not be disclosed or used for any purpose
                            other than expressly provided for in the Agreement. Purchaser also
                            affirms that confidential information is appropriately destroyed in
                            accordance with purchaser’s document retention policies.

               5.3          Purchaser shall provide to Seller a copy of any bankruptcy notices on
                            Accounts which Purchaser seeks to have Seller repurchase including,

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                            but not limited to, date of filing of bankruptcy petition, bankruptcy case
                            number, bankruptcy court in which case filed, and type of bankruptcy.
                            For deceased Accounts for which Purchaser seeks reimbursement from
                            Seller, Purchaser shall provide to Seller a death certificate including
                            date of death for deceased Account debtor. Purchaser may also provide
                            Seller with notice of bankruptcy on an Account, including date of filing
                            of bankruptcy petition, either from BANKO or a national credit
                            reporting agency. In the case of a deceased Account debtor, the
                            referenced report must contain the date of death of the Account debtor.

               5.4          Purchaser has such knowledge, sophistication and experience in
                            business and financial matters as to be capable of evaluating both the
                            information made available with respect to the Account/Related
                            Materials and the merits and risks of the prospective purchase, is able to
                            bear the economic risk of such purchase, is able to bear the risk that
                            Purchaser may be required to hold the Account/Related Material for an
                            indefinite period of time and is able to afford a complete loss of the
                            purchase price for the Account/Related Materials. Purchaser expressly
                            acknowledges and agrees that Seller cannot guaranty the collection of
                            any Account.

               5.5          Purchaser has been afforded the opportunity: (i) to ask such questions
                            as it has deemed necessary of, and to receive answers from,
                            representatives of Seller concerning the terms and conditions of the
                            offering of the Accounts and the merits and risks of buying the
                            Accounts; and (ii) to obtain such additional information that Seller
                            possesses or can acquire.

               5.6          Purchaser may not sell or transfer any Charged-off Account to any Third
                            Party Buyer without first receiving written approval from Seller.
                            Purchaser shall conduct commercially reasonable and prudent due
                            diligence on such RMA Certified Third Party Buyers, and or buyers that
                            meet or exceed the RMA Certification standards and shall defend,
                            indemnify and hold harmless Seller and Prior Holders from any and all
                            causes of action, claims, expenses or judgments incurred by Seller for
                            which a Third Party Buyer is partially or solely responsible.

               5.7          Under no Circumstances shall Purchaser be permitted to contact either
                            the Originator and/or previous owner of the Accounts or bank
                            (collectively and individually referred to as “Originator) by subpoena
                            or otherwise for any reason without first obtaining Seller’s express
                            written consent.

               5.8          Enforcement; Legal Actions. Purchaser or its Affiliates, successors,
                            employees, servicing agents or assigns shall not take nor indicate or imply
                            that it will or may take any legal enforcement action against any Obligor

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                            and Purchaser shall not misrepresent, mislead, deceive, or otherwise fail
                            to adequately disclose to any particular Obligor the identity of Purchaser,
                            to the owner of the Accounts. Purchaser shall not use, adopt, exploit, or
                            allude to Seller or any servicing agent or any name derived there from or
                            confusingly similar therewith or the name of any other local, state or
                            federal agency or association to promote Purchaser’s sale, enforcement,
                            collection, or management of the Accounts. Seller may seek the entry of
                            an order by a court of competent jurisdiction enjoining any violation of
                            this Section 4.7. Notwithstanding the foregoing, Purchaser may use the
                            name of Seller for the sole purposes of identifying any Account in
                            communications with Obligor in order to collect amounts outstanding on
                            the Account, in connection with sale of the Account, or as required by law,
                            rule (including court decrees) or regulation. Purchaser shall not represent
                            that there is an affiliation or agency relationship between Purchaser and
                            Seller, nor shall Purchaser state or represent in any way that Buyer is
                            acting on behalf of the Seller. Out of an abundance of caution, Purchaser
                            or its Affiliates, successors, employees, servicing agents or assigns shall
                            not initiate any lawsuit or file suit on any Account in this Account pool to
                            collect on any Debt.


6         MISCELLANEOUS

               6.1          This Agreement is entered into, and shall be construed in accordance
                            with the laws of the State of Mississippi. Any action arising out of, or
                            pertaining to this Agreement, shall be commenced only in a court of
                            competent jurisdiction in Lafayette County, Mississippi, to the
                            exclusion of all other venues. The parties hereto further agree that in
                            the event of any dispute regarding this Agreement, the courts of the State
                            of Mississippi shall have and be vested with personal jurisdiction of the
                            parties to this Agreement.

               6.2          Media to be provided within 60 days of close at no cost. Additional
                            media, to the extent reasonably available, will be provided to Purchaser
                            upon written request from Purchaser to Seller. Media is available for a
                            period of twelve months from the Closing Date at a charge of $12.50
                            per requested document. Document is defined as, among other things,
                            affidavit. Said requests shall be prepaid at the time of each request.
                            Media will be removed from Seller’s server ninety (90) days after
                            delivery of the Accounts to Purchaser. Purchaser acknowledges and
                            agrees that Seller will perform its best efforts to obtain requested media
                            documentation from the Originator. Purchaser further acknowledges
                            and agrees that media is extremely limited, if at all available, on the
                            Accounts. Purchaser acknowledges and agrees that Seller, despite its
                            best efforts, may not be able to provide any media to Purchaser.
                            Nevertheless, Purchaser specifically acknowledges and agrees that it

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                            shall first make any and all requests for media directly to Seller. Any
                            request for media first made by Purchaser to any other entity than Seller
                            shall be considered to be a breach by Purchaser of a material term of
                            this Agreement.

               6.3          Purchaser and any permitted assignee of Purchaser shall not use or refer
                            to the name of the Originator or Seller, or any similar name for any
                            purpose relating to any Account including, without limitation, the
                            collection, promotion, marketing, advertising, sale or transfer of any
                            Account. In collecting the Accounts, Purchaser shall only use its own
                            name and shall not imply that it is connected or related in any manner
                            with, or acting on behalf of, any person or entity operating under any of
                            the foregoing names. However, Purchaser and permitted assignees of
                            Purchaser may use the name of the Originator and Seller solely for the
                            purposes of identifying the Account in communications with an
                            Account debtor on such Account in identifying it, in connection with
                            litigation with an Account debtor or in connection with entering into any
                            servicing arrangement in identifying the Accounts. In contacting an
                            Account debtor, filing suit, or selling the Accounts, Purchaser shall not
                            state or represent in any way that it is taking such action on behalf of
                            any of the aforementioned entities or their affiliates or assigns.

               6.4      Seller has the right to recall an account from Purchaser at any time for
                        any reason should the Seller’s client recall such account(s) from Seller.
                        The Purchaser will be reimbursed its purchase price for such account.
                        Such recalls are expected to be completed by seller within 48 hours of
                        such request.
                      ___________Buyers Initials

               6.5          In the event Purchaser fails to pay Seller the full Purchase Price on or
                            before the Closing Date, (i) Purchaser shall be in breach of this
                            Agreement, (ii) this Agreement may be terminated by Seller, effective
                            immediately upon written notice to Purchaser, (iii) Upon termination of
                            this Agreement due to Purchaser’s default, Purchaser shall have no
                            interest whatsoever, legal, beneficial or otherwise, in the Accounts,
                            receivables, Receivable Schedules, and Account documents, (iv)
                            Purchaser acknowledges that the actual damages likely to result to Seller
                            from breach of this Agreement by Purchaser are difficult to estimate on
                            the date of this Agreement and would be difficult for Seller to prove.
                            The parties intend that Purchaser’s payment of liquidated damages in
                            the amount of ten percent (10%) of the Purchase Price (the “Liquidated
                            Damages Amount”) would serve to compensate Seller for any breach
                            by Purchaser of its obligations under the Agreement, and they do not
                            intend for it to serve as punishment for any such breach by Purchaser;
                            and (v) Seller shall retain all rights and remedies to which it is entitled



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                            by law or under this Agreement, including those described in Section
                            6.5 hereof.

               6.6          Purchaser acknowledges that Purchaser’s breach of sections 5.6 and
                            5.7, or any other provision of this Agreement, will result in actual and
                            substantial damages to Seller and/or Originator, the amount of which
                            will be difficult to ascertain with precision. Therefore, if Purchaser
                            breaches sections 5.6 or 5.7 of this Agreement, Purchaser will be liable
                            for payment to Seller and/or Originator the sum of $1,000 for each
                            such breach as liquidated damages and in preventing Purchaser’s
                            further breach of this Agreement.


               6.7          Purchaser warrants and represents that it shall maintain at all times or as
                            long as collection efforts continue on the Accounts purchased
                            hereunder, whichever is later, a phone number for consumers to contact
                            Purchaser or Purchaser’s servicer with a live voice response during the
                            business hours no less than 8a.m. to 6p.m., Monday through Friday
                            (except Federal Holidays) in the time zone buyer is located. Should an
                            Obligor purchased hereunder call Security Credit Services, LLC after
                            Security Credit Services, LLC previously directed the same Obligor to
                            Purchaser’s number listed below and noticed Purchaser in writing of
                            such difficulty, to Obligor’s inability to get a live voice from
                            Purchaser’s Entity or its Servicer, Security Credit Services, LLC shall
                            handle the call as it deems necessary. Should a collection be made,
                            Security Credit Services, LLC shall retain a 50% collection fee of all
                            gross monies collected and remit to Purchaser the remaining funds.

                      All Obligors shall be directed to contact Purchasers at the number below:

                      _____________________            Initial_________

               6.8          Should any accounts within the current sale file be “Citibank, N.A”
                            accounts (identified by Seller), Purchaser agrees to obtain get approval
                            from Convoke Systems and all media requests will flow through
                            Convoke Systems via its website (http://www.convokesystems.com/)
               6.9          Interest. Purchaser shall not charge or collect interest accrued after the
                            Closing Date on any Account. Nothing herein shall prohibit Purchaser
                            from (i) pursuing claims for prejudgment or post-judgment interest in
                            any legal action to collect on an Account, or (ii) pursuing collection
                            efforts on any judgment arising there from to the extent permitted by
                            applicable law.
               6.10         Audit. Purchaser shall permit Seller or a duly assigned representative
                            to perform audits at Purchaser’s offices for the purpose of ensuring
                            performance of the Agreement and compliance with applicable
                            law. Such audits may be conducted at intervals deemed reasonably

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                            necessary by Seller, and with reasonable prior notice, during normal
                            business hours.
               6.11         From time to time Seller may receive updated terms from the Original
                            Seller of the Accounts. Any such changes required by the Seller’s
                            Original Seller shall flow through to the Purchaser should any
                            accounts within this sale pool be affected. Purchaser agrees to honor
                            any such requests and make any requested changes within 48 hours of
                            notice and comply with such changes.




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                      This Agreement constitutes the entire understanding between Seller and
                      Purchaser. Neither party has made any representations, warranties or
                      promises except as set forth herein.

        IN WITNESS WHEREOF, the parties have caused this Agreement to be executed
as of the date first written above.

          Security Credit Services, LLC
          2653 West Oxford Loop, Suite 108
          Oxford, MS 38655


          __________________________

          Kaye Dreifuerst, President




          Michael Haynes & Associates, LLC
          21 Brook St. Suite 9
          Seekonk, MA 02771


          _________________________

          Michael Halzel, President




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                                          Exhibit A



                            ASSIGNMENT AND BILL OF SALE

Security Credit Services, LLC (“Seller”) has entered into an Accounts Purchase
Agreement, dated June 29, 2018 (“Agreement”) for the sale of Accounts described in
Agreement thereof to Michael Haynes & Associates, LLC. (“Purchaser”), upon terms and
conditions set forth in that Agreement.

NOW, THEREFORE, for good and valuable consideration, Seller hereby sells, assigns,
and transfers to Purchaser all of Seller’s rights, title, and interest in each and every one of
the Accounts described in the Agreement, provided however such transfer is made without
any representations, warranties, or recourse.

IN WITNESS WHEREOF, Seller has signed and delivered this instrument on the
_____________ day of _______________________, 2018.


Security Credit Services, LLC



By:       __________________________________
          President




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                                 Exhibit B
                             Closing Statement




Type of Debt                   Commercial
Originating Lender(s)          TP

Number of Accounts             TBD

State(s)                       Nationwide

Face Amount (Book Value)       $TBD

Sale Price                     $TBD

Closing/Funding Date           July 30, 2018

Reference                      SCS ~ MHA TP FF 6.29.2018




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                                         Exhibit C


                                Wire Transfer Instructions

                                   The Citizens Bank
                                   1110 Central Drive
                                 Philadelphia, MS 39350
                                      601-650-0067

                                 Security Credit Services
                                   Operating Account
                              2653 W Oxford Loop, Ste 108
                                Oxford, MS 38655-2929
                                Wire ABA # 065302154
                                   Account # 2578763



                            Reference: SCS ~ MHA TP FF 6.29.2018




Please include this information on all wire transfers. If there are any questions, please
call us. Thank you.




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